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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF NEBRASKA


JESSE HERRICK, individually and on behalf   Case No. 4:22-cv-3181
of all others similarly situated,
                                            The Honorable John M. Gerrard, U.S.D.J.
             Plaintiff,                     The Honorable Cheryl R. Zwart, U.S.M.J.

             v.                             CLASS ACTION

NELNET SERVICING, LLC,

             Defendant.


ROBERT CARLSON, on behalf of himself and    Case No. 4:22-cv-3184
all others similarly situated,
                                            The Honorable John M. Gerrard, U.S.D.J.
             Plaintiff,                     The Honorable Cheryl R. Zwart, U.S.M.J.

             v.                             CLASS ACTION

NELNET SERVICING, LLC,

             Defendant.


CAREY M. BALLARD, individually and on       Case No. 4:22-cv-3185
behalf of all others similarly situated,
                                            The Honorable John M. Gerrard, U.S.D.J.
             Plaintiff,                     The Honorable Cheryl R. Zwart, U.S.M.J.

             v.                             CLASS ACTION

NELNET SERVICING, LLC,

             Defendant.
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JENNIFER HEGARTY, individually and on         Case No. 4:22-cv-3186
behalf of all others similarly situated,
                                              The Honorable John M. Gerrard, U.S.D.J.
               Plaintiff,                     The Honorable Cheryl R. Zwart, U.S.M.J.

               v.                             CLASS ACTION

NELNET SERVICING, LLC,

               Defendant.


AMANDA BEASLEY, individually and on           Case No. 4:22-cv-3187
behalf of all others similarly situated,
                                              The Honorable John M. Gerrard, U.S.D.J.
               Plaintiff,                     The Honorable Cheryl R. Zwart, U.S.M.J.

               v.                             CLASS ACTION

NELNET SERVICING, LLC,

               Defendant.


MICHAEL VARLOTTA, individually and            Case No. 4:22-cv-3188
on behalf of all others similarly situated,
                                              The Honorable John M. Gerrard, U.S.D.J.
               Plaintiff,                     The Honorable Cheryl R. Zwart, U.S.M.J.

               v.                             CLASS ACTION

NELNET SERVICING, LLC,

               Defendant.
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DYLAN HOLLENKAMP, individually and            Case No. 4:22-cv-3189
on behalf of all others similarly situated,
                                              The Honorable John M. Gerrard, U.S.D.J.
              Plaintiff,                      The Honorable Cheryl R. Zwart, U.S.M.J.

              v.                              CLASS ACTION

NELNET SERVICING, LLC,

              Defendant.


WILLIAM SPEARMAN, BRITTNI LINN,               Case No. 4:22-cv-3191
JESSICA ALEXANDER, CHRISTOPHER
SANGMEISTER, TAYLOR VETTER,                   The Honorable John M. Gerrard, U.S.D.J.
NICHOLE ALLOCCA, KAYLI LAZARD, and            The Honorable Cheryl R. Zwart, U.S.M.J.
BRIDGET CAHILL, individually and on behalf
of all others similarly situated,             CLASS ACTION

              Plaintiffs,

              v.

NELNET SERVICING, LLC,

              Defendant.


BARBARA MILLER, on behalf of herself and      Case No. 4:22-cv-3193
all others similarly situated,
                                              The Honorable John M. Gerrard, U.S.D.J.
              Plaintiff,                      The Honorable Cheryl R. Zwart, U.S.M.J.

              v.                              CLASS ACTION

NELNET SERVICING, LLC,

              Defendant.
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FRANCINE SIMMONS, individually and on             Case No. 4:22-cv-3194
behalf all others similarly situated,
                                                  The Honorable John M. Gerrard, U.S.D.J.
              Plaintiff,                          The Honorable Cheryl R. Zwart, U.S.M.J.

              v.                                  CLASS ACTION

NELNET SERVICING, LLC,

              Defendant.


ANTONIA BIRD, individually, and on behalf         Case No. 4:22-cv-3195
of all others similarly situated,
                                                  The Honorable John M. Gerrard, U.S.D.J.
              Plaintiff,                          The Honorable Cheryl R. Zwart, U.S.M.J.

              v.                                  CLASS ACTION

NELNET SERVICING, LLC,

              Defendant.


VERONICA JOAQUIN-TORRES, individually             Case No. 4:22-cv-3196
and on behalf of all others similarly situated,
                                                  The Honorable John M. Gerrard, U.S.D.J.
              Plaintiff,                          The Honorable Cheryl R. Zwart, U.S.M.J.

              v.                                  CLASS ACTION

NELNET SERVICING, LLC,

              Defendant.
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KENNEDY FREEMAN, and AARON                 Case No. 4:22-cv-3197
MORRIS, Individually, and on Behalf of
All Others Similarly Situated,             The Honorable John M. Gerrard, U.S.D.J.
                                           The Honorable Cheryl R. Zwart, U.S.M.J.
              Plaintiffs,
                                           CLASS ACTION
              v.

NELNET SERVICING, LLC,

              Defendant.


MIA SAYERS and KYLEE WILLIAMS,             Case No. 4:22-cv-3203
individually and on behalf of all others
similarly situated,                        The Honorable John M. Gerrard, U.S.D.J.
                                           The Honorable Cheryl R. Zwart, U.S.M.J.
              Plaintiffs,
                                           CLASS ACTION
              v.

NELNET SERVICING, LLC,

              Defendant.


PAMELA BUMP, MELISSA                       Case No. 4:22-cv-3204
CHARBONNEAU, DOUGLAS CONLEY,
NOAH HELVEY, DALLIN ILER, DUSTIN           The Honorable John M. Gerrard, U.S.D.J.
JONES, DEVINNE PETERSON, JUSTIN            The Honorable Cheryl R. Zwart, U.S.M.J.
RANDALL, SOFIA RODRIGUEZ, and
RACHEL WOODS, individually and on behalf   CLASS ACTION
of all others similarly situated,

              Plaintiffs,

              v.

NELNET SERVICING, LLC,

              Defendant.
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CHRISTOPHER CORDARO, Individually,          Case No. 4:22-cv-3207
and on Behalf of All Others Similarly
Situated,                                   The Honorable John M. Gerrard, U.S.D.J.
                                            The Honorable Cheryl R. Zwart, U.S.M.J.
             Plaintiff,
                                            CLASS ACTION
             v.

NELNET SERVICING, LLC,

             Defendant.


RYAN GAMEN, individually and on behalf of   Case No. 4:22-cv-3209
all others similarly situated,
                                            The Honorable John M. Gerrard, U.S.D.J.
             Plaintiff,                     The Honorable Cheryl R. Zwart, U.S.M.J.

             v.                             CLASS ACTION

NELNET SERVICING, LLC,

             Defendant.


HUNTER FREELAND, individually and on        Case No. 4:22-cv-3211
behalf of all others similarly situated,
                                            The Honorable John M. Gerrard, U.S.D.J.
             Plaintiff,                     The Honorable Cheryl R. Zwart, U.S.M.J.

             v.                             CLASS ACTION

NELNET SERVICING, LLC,

             Defendant.
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MAX EICHENBLATT, individually and on            Case No. 4:22-cv-3227
behalf of all others similarly situated,
                                                The Honorable John M. Gerrard, U.S.D.J.
              Plaintiff,                        The Honorable Cheryl R. Zwart, U.S.M.J.

              v.                                CLASS ACTION

NELNET SERVICING, LLC,

              Defendant.


NEIL KITZLER, an individual, and on behalf      Case No. 4:22-cv-3241
of classes of similarly situated individuals,
                                                The Honorable John M. Gerrard, U.S.D.J.
              Plaintiff,                        The Honorable Cheryl R. Zwart, U.S.M.J.

              v.                                CLASS ACTION

NELNET SERVICING, LLC, a Nebraska
Limited Liability Company, and DOES 1 to 10,
inclusive,

              Defendants.


ANTHONY QUINN, individually and on              Case No. 8:22-cv-413
behalf of all others similarly situated,
                                                The Honorable John M. Gerrard, U.S.D.J.
              Plaintiff,                        The Honorable Cheryl R. Zwart, U.S.M.J.

              v.                                CLASS ACTION

EDFINANCIAL SERVICES, LLC and
NELNET SERVICING, LLC,

              Defendants.
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 IAN SCOTT, LESLY CANALES, ERIC                   Case No. 4:22-cv-3259
 POLANCO, JOSHUA SANCHEZ, and
 DELILAH OLIVEIRA, individually and on            The Honorable John M. Gerrard, U.S.D.J.
 behalf of all others similarly situated,         The Honorable Cheryl R. Zwart, U.S.M.J.

                 Plaintiffs,                      CLASS ACTION

                 v.

 NELNET SERVICING, LLC,

                 Defendant.


GARNER KOHRELL, individually and                  Case No. 4:22-cv-3267
on behalf of all others similarly situated,
                                                  The Honorable John M. Gerrard, U.S.D.J.
Plaintiffs                                        The Honorable Cheryl R. Zwart, U.S.M.J.

               v.                                 CLASS ACTION

NELNET SERVICING, LLC,

Defendant.




    FIRST FILED PLAINTIFFS’ NOTICE RELATING TO THE LEADERSHIP
  APPLICATION OF MILBERG, MORGAN & MORGAN, AND STUEVE SIEGAL
                              HANSON




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         Plaintiffs Jesse Herrick, Carey M. Ballard, Amanda Beasley, Jennifer Hegarty, and Barbara

Miller (the “First Filed Plaintiffs”), individually and on behalf of all others similarly situated,

respectfully submit this Notice Relating to the Leadership Application of Milberg, Morgan &

Morgan & Stueve Siegal Hanson.

         Since filing their Motion to Consolidate Pursuant to Fed. R. Civ. P. 42 and for Appointment

of Interim Co-Lead Counsel Pursuant to Fed. R. Civ. P. 23(g)(3) 1 on January 3, 2023 First Filed

Plaintiffs have secured the support of their proposed leadership structure from counsel for the

plaintiff in Kohrell v. Nelnet Servicing, LLC et al, No. 4:22-CV-03267, (D. Neb.) See Declaration

of Gary M. Klinger in support of First Filed Plaintiffs’ Notice Relating to the Leadership

Application of Milberg, Morgan & Morgan & Stueve Siegal Hanson ¶ 2. With Kohrell, First filed

Plaintiffs have the support of 17 of the 23 Related Actions for the appointment of Milberg, Morgan

& Morgan, and Stueve Siegal Hanson as Interim Co-Lead Counsel.



Dated: January 6, 2022                 Respectfully submitted,

                                              /s/ Gary M. Klinger

                                              Gary M. Klinger
                                              MILBERG COLEMAN BRYSON PHILLIPS
                                              GROSSMAN, PLLC
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                                              Attorneys for Plaintiffs




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    See ECF Nos. 25-26.
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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on January 6, 2023, the foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.


                                                /s/ Gary M. Klinger
                                                Gary M. Klinger




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